AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
Eastern District of Michigan
Michigan & Northwest Ohio Allied Printing Trades )
Council )
) oe - _
Plaintife Civil Action No. 20-12250
)
v. )
United Sonz, Inc. et al Hon. Bemard A. Friedman
)
Defendant. )
SUMMONS IN A CIVIL ACTION

To: Printing Plus by United Sonz

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:
Lisa M. Smith

McKnight, Canzano, Smith, Radtke & Brault, P.C.
423 N. Main Street

Suite 200

Royal Oak, MI 48067

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

DAVID J. WEAVER, CLERK OF COURT By: _s/Tracy Thompson
Signature of Clerk or Deputy Clerk

_ Date of Issuance: August 19, 2020

—s!

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Summons and Complaint Return of Service

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ae a

Case No. 20-12250
Hon. Bernard A. Friedman

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if ay) Printing Plus by United Sonz

was received by me on (date) VN c

I personally served the summons on the individual at (place)
Vgolor, Wi aKa] on awe) FR, BDPBIO @ LYS 1

CI left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on. (date) , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or
O I returned the summons unexecuted because ; Or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

pa: 3221 -JOQO | 96 = ~
ON ee

server’ 'S signature

DAY 1 K Retuc fee

Printed name and title

BAD NEWS BEARERS
PROCESS SERVICE
Server's a@6450 DEQUINDRE
SUITE 600

Additional information regarding attempted service, etc: STERLING HGTS. Mi 48310

